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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------X
                                                                Chapter 11
In re:
                                                                Case No. 19-13097 (SCC)
SMARTER TODDLER GROUP, LLC,

                                    Debtors.
------------------------------------------------------X

                                 NOTICE OF APPEARANCE AND
                               DEMAND FOR SERVICE OF PAPERS

         PLEASE TAKE NOTICE, that the undersigned hereby appears for E.J. York Inc., a

judgment creditor and party in interest in this matter pursuant to Bankruptcy Rules 2002, 9007

and 9010 and Sections 342 and 1109(b) of the Bankruptcy Code, and requests that all notices

given or required to be given in this case and all papers served or required to be served in this

case, be given to and served upon the following:

                                   ROBINSON BROG LEINWAND
                                   GREENE GENOVESE & GLUCK P.C.
                                   Counsel for E.J. York Inc.
                                   875 Third Avenue, 9th Floor
                                   New York, New York 10022
                                   Telephone No.: 212-603-6300
                                   Lori A. Schwartz, Esq.
                                   ls@robinsonbrog.com

and that they be added to the Master Service List in this case.

         PLEASE TAKE FURTHER NOTICE, that pursuant to 11 U.S.C. Section 1109(b), this

demand shall be broadly construed to include, by way of example and not by way of limitation,

all notices and papers, including, without limitation, orders and notices of any application,

motion, petition, pleading, request, complaint or demand, whether formal or informal, whether

written or oral, and whether transmitted or conveyed by mail delivery, telephone, telegraph,




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telex, fax, e-mail or otherwise, which affects, or purports to affect, the estate of the above named

debtor or property of its estate.

        PLEASE TAKE FURTHER NOTICE that neither this Notice of Appearance and

Demand for Service of Papers, nor any later appearance, pleading, claim, or suit shall constitute

a waiver of (i) the right to have final orders in non-core matters entered only after de novo review

by a Judge of the United States District Court, (ii) the right to trial by jury in any proceeding

related to this proceeding, (iii) the right to have the United States District Court withdraw the

reference in any matter subject to mandatory or discretionary withdrawal, (iv) any objection to

the jurisdiction of this Court for any purpose other than with respect to this notice, (v) an election

of remedy, (vi) any other rights, claims actions, defenses, setoffs, or recoupments as appropriate

in law or in equity, under any agreements, all of which rights, claims, actions, defenses, setoffs,

and recoupments are expressly reserved.

DATED: New York, New York
       October 11, 2019


                                                ROBINSON BROG LEINWAND GREENE
                                                GENOVESE & GLUCK P.C.
                                                Counsel for E.J.York Inc.
                                                875 Third Avenue, 9th Floor
                                                New York, New York 10022
                                                Tel: No.: 212-603-6300


                                               By:/s/ Lori A. Schwartz
                                                  Lori A. Schwartz




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To:

Office of the United States Trustee
Southern District of New York
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